         Case 3:19-cr-00700-RS Document 70 Filed 01/25/21 Page 1 of 1




                          UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                   CRIMINAL MINUTES

Date: January 25, 2021           Time: 15 minutes              Judge: RICHARD SEEBORG
Case No.: 19-cr-00700-RS-        Case Name: USA v. Froylan Sanchez
1,2                                                  Jose Ivan Sanchez
Attorney for Government: Sloan Heffron
Attorney for Defendant (F. Sanchez) : Candis Mitchell
Attorney for Defendant (J. Sanchez): Julia Jayne, Ashley Riser
Defendant (F. Sanchez): [X ] Present [ ] Not Present
Defendant Custodial Status (F. Sanchez): [X ] In Custody [ ] Not in Custody
Defendant (J. Sanchez): [X] Present [ ] Not Present
Defendant Custodial Status (J. Sanchez): [ ] In Custody [X] Not in Custody

Deputy Clerk: Corinne Lew                             Court Reporter: Debra Pas
Interpreter: n/a                                      Probation Officer: n/a


                    ZOOM/VIDEO CONFERENCE PROCEEDINGS

Trial Setting Conference Held.

                                        SUMMARY

Court proceedings held by Zoom/Video Conference. General Order 74 authorizes the
Court to proceed by way of Zoom/Video conference hearing.

The Court granted governments request for Froylan Sanchez to be tried together with co-
defendant Jose Ivan Sanchez.

FROYLAN SANCHEZ: CASE CONTINUED TO: 5/17/2021 at 9:00 am for Jury
Selection/Trial.

FROYLAN SANCHEZ AND JOSE SANCHEZ: CASE CONTINUED TO:
3/29/2021 at 1:00 PM for Status Conference.

EXCLUDABLE DELAY:
Category: Effective Preparation of Counsel
Begins: 1/25/2021
Ends: 5/17/2021

Government to prepare an exclusion order.
